Case 2:20-cv-04330-RSWL-PD Document 11 Filed 01/25/21 Page 1 of 1 Page ID #:122



   1
                                                                        JS-6
   2
   3
   4
   5
   6
   7
   8                     UNITED STATES DISTRICT COURT
   9                   CENTRAL DISTRICT OF CALIFORNIA
  10
  11    MICHAEL MEYERS,                         Case No. CV 20-4330-RSWL (PD)
  12                     Petitioner,
  13         v.                                 JUDGMENT
  14    THE PEOPLE OF THE STATE OF
        CALIFORNIA, et al.,
  15
                         Respondent.
  16
  17
  18        Pursuant to the Court’s Order Accepting the Report and
  19   Recommendation of United States Magistrate Judge,
  20        IT IS ADJUDGED that the Petition is dismissed without prejudice.
  21
       DATED: January 25, 2021
  22
  23                                   ____/S/ RONALD S.W. LEW_______________
                                       RONALD S.W. LEW
  24
                                       UNITED STATES DISTRICT JUDGE
  25
  26
  27
  28
